Case 2:24-cr-00521-GRB          Document 32      Filed 12/20/24      Page 1 of 1 PageID #: 215




                                                            December 19, 2024
VIA ECF
The Honorable Gary R. Brown
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

               Re: United States v. Jacob Israel Walden, 24 Cr. 521 (GRB)

Dear Judge Brown:

        We represent Jacob Walden in the above-referenced case. On December 18, 2024, the
government filed a 6-count indictment against Mr. Walden. On behalf of Mr. Walden, we
respectfully request to adjourn the arraignment on the indictment until the week of January 20,
2025. We write to inform the Court that counsel and Mr. Walden have discussed his speedy trial
rights and, based on this discussion, Mr. Walden has agreed to exclude time until his arraignment
from the computation of the time period within which a trial on the charges must commence. The
adjournment would permit defense counsel to review the indictment, become familiar with the
facts, and review any discovery that the government will provide. We have conferred with the
government, and the government consents to this request.

                                                             Respectfully,


                                                            Benjamin Brafman, Esq.


                                                            Saul Bienenfeld, Esq.


cc:    AUSA Leonid Sandlar (via ECF)
